
99 N.Y.2d 595 (2003)
THE PEOPLE OF THE STATE OF NEW YORK, Respondent,
v.
JAMES F. CAHILL, III, Appellant.
Court of Appeals of the State of New York.
Submitted February 10, 2003.
Decided February 18, 2003.
Motion by Thomas Aloi et al. for leave to file a supplemental brief amici curiae with separate index of exhibits and participate in oral argument granted only to the extent that the proposed supplemental brief with separate index of exhibits is accepted as filed. Two additional copies of the supplemental brief and index must be served and 14 additional copies filed within 10 days.
Respondent's brief is due on or before April 21, 2003.
Appellant's reply brief is due on or before July 21, 2003.
The case is set down for oral argument on September 22, 2003.
